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 1   Devin Sreecharana, Esq. (029057)
     Trevor J. Wainfeld, Esq. (037146)
 2   MAY, POTENZA, BARAN & GILLESPIE, P.C.
 3   1850 N. Central Ave., Suite 1600
     Phoenix, Arizona 85021
 4   Telephone: (602) 252-1900
     Facsimile: (602) 252-1114
 5
     Email: devin@maypotenza.com
 6          twainfeld@maypotenza.com
 7   Moshe Y. Admon, Esq. (034169)
 8   Admon Law Firm, PLLC
     300 Lenora St., #4008
 9   Seattle, Washington 98121
     Telephone: (206) 739-8383
10   Email: jeff@admonlaw.com
11   Attorneys for Plaintiff
12                           IN THE UNITED STATES DISTRICT COURT
13                              FOR THE DISTRICT OF ARIZONA
14                                                    Case No.: CV-2308622-PCT-JJT
     Phong Thanh Huynh,
15                                                  NOTICE OF DISCOVERY DISPUTE
                Plaintiff,
16 v.
                                                         (Telephonic Hearing Requested)
17
     Alissa Chiaravanond, an individual resident
18   of Arizona, Pacific Shangrila LLC, a Nevada
     limited liability company, Cathedral
19
     Shangrila LLC, a Nevada limited liability
20   company, Nido di Stelle LLC, a Nevada
     limited liability company, ILU LLC, an
21   Arizona limited liability company,
22
                Defendants.
23
24          Pursuant to Paragraph 9 of the Scheduling Order (Doc. 47), Plaintiff Phong Thanh

25 Huynh submits the following written summary of his position regarding a discovery dispute
26 that cannot be resolved despite sincere efforts to resolve the matter. In the Notice of
27 Certification of Attempted Conferral filed herewith, Plaintiff’s counsel certifies attempts to
28 resolve this matter through personal consultation, but Defendants have not engaged. Therefore,
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 1 only Plaintiff’s portion is provided below.

 2          I.     PLAINTIFF’S PORTION
 3          On November 12, 2024, Plaintiff served on Defendants his First Set of (1) Requests for
 4 Production, (2) Requests for Admission, and (3) Interrogatories (collectively, “Written

 5 Discovery”). (Doc. 54). Defendants’ responses were due on December 12, 2024. On December

 6 9, 2024, Defendants’ former counsel requested a ten-day extension, which undersigned

 7 counsel granted through December 23, 2024. On December 18, 2024, Defendants’ former

 8 counsel moved to withdraw (“Withdrawal Motions”). (Docs. 56, 57). On December 19, 2024,

 9 Defendants’ former counsel informed undersigned “that the circumstances that have caused us
10 to file the motion to withdraw render it impossible for us to provide responses to the discovery

11 next week as scheduled.” (Doc. 61-2 at ¶ 9). Defendants did not propose a further extended

12 response deadline. On December 20, 2024, the Court granted the Withdrawal Motions. (Docs.

13 58, 59). Defendants have not responded to the Written Discovery or to Plaintiff’s request to

14 meet and confer regarding the Written Discovery. Defendants have not produced any

15 documents in this case. (Docs. 45; 61-2 at ¶¶ 4, 5, 13).

16          The Written Discovery seeks material information about five multi-million-dollar
17 investment properties in which Plaintiff alleges an ownership interest, and Defendants’ alleged

18 scheme to defraud Plaintiff from holding such interests – the crux of his case. (Doc. 1, ¶¶ 3-10,

19 Prayer for Relief; Doc. 61 at 7:4-15; Doc. 61-2 at ¶ 6). For example, the Written Discovery

20 seeks documents, communications, and information relating to: the entity Defendants’

21 formation, operations, governance, and finances; Defendants’ acquisition, maintenance, and

22 improvement of the properties; and Defendant Chiaravanond’s contention that Plaintiff gifted

23 her, as a dowry, millions of dollars to purchase the properties to his exclusion. (Doc. 61-2 at

24 Exhibits 2-4). Meanwhile, and concerningly, Defendants have listed some of the properties

25 for sale over Plaintiff’s objection. (Doc. 61 at 11:26-28). Defendants’ failure to participate in

26 disclosure and discovery also critically concerns Plaintiff given the Palisades Fire. (Doc. 61).

27          Plaintiff requests the Court order Defendants to respond to the Written Discovery
28 within one week of the impending telephonic conference, and award Plaintiff attorneys’ fees


                                                    2
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 1 and costs related to this dispute and any other sanction the Court deems appropriate.

 2         RESPECTFULLY SUBMITTED this 14th day of January, 2025.
 3
                                          MAY, POTENZA, BARAN & GILLESPIE, P.C.
 4
                                          By /s/ Trevor J. Wainfeld
 5                                           Devin Sreecharana, Esq.
 6
                                             Trevor J. Wainfeld, Esq.

 7
                                           ADMON LAW FIRM, PLLC
 8

 9                                         Moshe Y. Admon

10                                         Attorneys for Plaintiff
11

12

13

14
                                   CERTIFICATE OF SERVICE
15
           I hereby certify that on January 13, 2025, I transmitted the foregoing document by
16
     U.S. Mail to:
17                                 Defendant Alissa Chiaravanond
                                 c/o Registered Agent Solutions, Inc.
18
                                187 East Warm Springs Road, Suite B
19                                    Las Vegas, Nevada 89119
20                                Defendant Pacific Shangrila LLC
21                               c/o Registered Agent Solutions, Inc.
                                187 East Warm Springs Road, Suite B
22                                    Las Vegas, Nevada 89119
23
                                       341 San Rafael Avenue
24                                      Belvedere, CA 94920
25                               Defendant Cathedral Shangrila LLC
26                               c/o Registered Agent Solutions, Inc.
                                187 East Warm Springs Road, Suite B
27                                    Las Vegas, Nevada 89119
28


                                                   3
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                                Defendant Nido Di Stelle LLC
 1
                             c/o Registered Agent Solutions, Inc.
 2                          187 East Warm Springs Road, Suite B
                                  Las Vegas, Nevada 89119
 3

 4                                  Defendant ILU LLC
                             c/o Registered Agent Solutions, Inc.
 5                          300 West Clarendon Avenue, Suite 240
                                   Phoenix, Arizona 85013
 6

 7                                 341 San Rafael Avenue
                                    Belvedere, CA 94920
 8

 9   /s/ Elena Cordero
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